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      EXHIBIT E
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                                What U.S. ·commercial Bankers Need to Know about the
                              Traditional Bank Products Exception t9 the Anti-Tying Rules
           The federal Anti-Tying Statute (the "Statute'1 is an important U.S. law that significantly resfl'icts the.ability of
           banks to require customers to buy products from its affiliates in order to obt.ain a· product/services or certain
           pricing.                                     ·

           Traditional Bank hodact ExceptitJn: There is an important exception to the Anti-Tying Statute that U.S.
           commercial bankers need to understand. The law allows Bank of America, N.A. (BANA) and other bank
           subsidiaries to condition both the availability and price of any "bank" product/service on the requirement that the
           customer obtafu a "traditional bank: product" (the tied prodUct) from the bank1.

            What are "Traditional Bank Producis"? The St.atute defines a traditional bank product to be a loan. discount,
           deposit, or trust semce. Thus, for example, the Traditional Bank Product Exception pennits BANA to condition
           the availability or price of a particular loan on a requinmient that the customer maintain a specified amount of
           deposits with BANA or its affiliates. Similarly, BANA may infomi a customer that it will lend (or continue
         · lending) to the customer only if the customer obtains payroll services from BANA or its affiliates. In both cases,
           the bank's actions are pennissible because the tied products (deposits and payroll aexvices) are traditional bank
           products. The following producta/services are considered tzaditional bank products for tying purposes:
           DEPOSIT PRODUCTS/SERVICES:               LOAN PRODUCTS/SERVICES:                         TRUST SERVICES:
           ACH Services                             Adminisimtive Agent Seivices for                E51atB .Administml:ion SeIVices
           Automatic Picyment Services                Syndi.cat.ed Loan                             Trust.Acc01mts
           CDs                                      Asset Based Loans                               WIM Custody Accounts
           Collection Services (dra.tls, c.hecks,   Bankers Aceeplllnccs                            WIM Investment Management Accmmts
             bonds, etc.)                           Collateral Agent Services
           Custody Senices                          Credit Cards
          Deposi!Aceounls                           omcounling ofNotcs arui Dmfis
(         Foreign Exchange Cu!rency Services        FactGrlng
          IRAs .it SEPs inve&ted in deposi5         Letters ofCredir
          Lockbox Services                          Lines of Credit
          Merchant Processing Services              Leases that ere the fimctional equivalent ofa
         ·Online Bill Payment Smvices                 loan (ie. banlc f 24(7) leases)
          Payroll Semces (direat deposit)           Loan Syndicalion/ServicinglBrokering Low
          Public Fund& Depo5itoty Services          Standby Bond Purchase Agreement
          Sofa Deposit Box Sc.rviccs
         Traveler's Chccla;/Money Order
            Services
         Vault Services (coin, currency)
         Wire Transfer Sc.rvices

      Non-TradiJiona/, Bank Prodm:ta: CoJ1VCD1cly, BANA cannot condition a Joan/servico (or a price discount the                    on
      loan/service) on the customer using any Banlc of America Meni1l Lynah entity for any non-traditional banking
      product/services, such as debt or equity securities underwriting or M&A The following products/services are
      examples of products and services that are not considered traditional bank products for tying purposes:
     SERVICES RELATED TO                     JNV.ESTMENT                            SERVICES RELATED TO            MISCELLANEOUS
     LOANS:                                  PRODUC'ISISERVJCES:                    FIDUCIARY ACCOUNTS             PRODUCTS/SERVICES:
     l 031 Exchange Seivices                 Asset Securitization -                 {NOT PERFORMED IN A            Data Processing Services
     Appmisal Services                       Broker/Dealer Serv:ices -              TRUSTEE CAPACITY):             Digital Certifioation Services
     Guaranty/Surety on Indemnity            Commercial Paper                      ·Business Management Services   Insumnce Prodllcts
       Bond                                  Commodity Derivative Products          Property Mmmgement Services    Sale of Surplus Electronic
     Leases that are not the fimctional      Equity Derivative Products             Tax Preparation SerYioes         Capacity and By-Products
       equivalent of a loan (i.e. CEBA       Fon:ign Exchange Derivatives
       leases by tho bank under              Forward Purcbase Agn:ements
     1
       As used herein, the word "bank"' refers to a bank as de.fined under the Bank Holding Company Act and subsidiaries of a
     bank. It does not include non-bank affiliates of Bank of America N.A such as Merrill Lynch, Pierce, Fenner & Smith
     Incorporat.ed.
                                                                       (OVER)
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              §24(10) or holding company   Hedge Funds
              leases)                      Interest Rate Derivative Products
           Title Services                  Investment Advisory Services ..._
    (                                      Money M11JJB8cr Aceount -
    I                                      Money Market Mutual Funds ....
                                           Mutual Funds -
                                           Other Derivative Products
                                           Prlnoipal Invetiting
                                           Privalfl Placements (Debt & Equity)
                                           Secui:ities Underwriting
                                           StruoturedProduotir(CDOs, CLOs,
                                             SERVES, STRATA, SWllps)

           Please note that any service or product not listed as a traditional bank product should be treated as a non-
           traditional bank product. If you have a question regarding a.specific product or service, please consult with
           your in-house cotmsel.




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